                Case 1:22-cv-23171-BB DocumentCIVIL
JS 44 (Rev. 06/17) FLSD Revised 06/01/2017     1-1 Entered
                                                    COVERon  FLSD Docket 09/30/2022 Page 1 of 1
                                                           SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose
of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.
I. (a)      PLAINTIFFS SECURITIES & EXCHANGE COMMISSION                                                           DEFENDANTS ARBITRADE LTD., CRYPTOBONTIX, INC.,
                                                                                                                                       TROY R. J. HOGG, STEPHEN L.
                                                                                                                                       BRAVERMAN, and MAX W. BARBER, et al.
    (b) County of Residence of First Listed Plaintiff                                                             County of Residence of First Listed Defendant Bermuda
                                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                                              (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                  NOTE:                     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                            THE TRACT OF LAND INVOLVED.
    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                      Attorneys (If Known)
    Alice Sum, Esq., 305-416-6293
    SEC, 801 Brickell Ave., #1950, Miami, FL 33131
(d) Check County Where Action Arose:               x    MIAMI- DADE        MONROE         BROWARD       PALM BEACH        MARTIN     ST. LUCIE       INDIAN RIVER     OKEECHOBEE        HIGHLANDS


II. BASIS OF JURISDICTION                              (Place an “X” in One Box Only)               III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)
                                                                                                            (For Diversity Cases Only)                                          and One Box for Defendant)
✔    1   U.S. Government                   3                    Federal Question                                                     PTF          DEF                                           PTF DEF
           Plaintiff                               (U.S. Government Not a Party)                       Citizen of This State           1             1     Incorporated or Principal Place          4      4
                                                                                                                                                           of Business In This State

     2   U.S. Government                   4                       Diversity                           Citizen of Another State             2          2   Incorporated and Principal Place          5          5
           Defendant                               (Indicate Citizenship of Parties in Item III)                                                              of Business In Another State

                                                                                                       Citizen or Subject of a              3          3   Foreign Nation                            6          6
                                                                                                         Foreign Country
IV. NATURE OF SUIT                     (Place an “X” in One Box Only)                                 Click here for: Nature of Suit Code Descriptions
            CONTRACT                                           TORTS                                       FORFEITURE/PENALTY                      BANKRUPTCY                         OTHER STATUTES
    110 Insurance                        PERSONAL INJURY                    PERSONAL INJURY               625 Drug Related Seizure               422 Appeal 28 USC 158              375 False Claims Act
    120 Marine                           310 Airplane                       365 Personal Injury -             of Property 21 USC 881             423 Withdrawal                     376 Qui Tam (31 USC
    130 Miller Act                       315 Airplane Product                   Product Liability         690 Other                                  28 USC 157                       3729 (a))
    140 Negotiable Instrument                Liability                      367 Health Care/                                                                                        400 State Reapportionment
    150 Recovery of Overpayment          320 Assault, Libel &                   Pharmaceutical                                                    PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment            Slander                            Personal Injury                                                  820 Copyrights                     430 Banks and Banking
    151 Medicare Act                     330 Federal Employers’                 Product Liability                                                830 Patent                         450 Commerce
    152 Recovery of Defaulted                 Liability                    368 Asbestos Personal                                                 835 Patent – Abbreviated    460 Deportation
                                                                                                                                                 New Drug Application
        Student Loans                    340 Marine                            Injury Product                                                    840 Trademark               470 Racketeer Influenced and
        (Excl. Veterans)                 345 Marine Product                    Liability                           LABOR                           SOCIAL SECURITY           Corrupt Organizations
    153 Recovery of Overpayment               Liability                   PERSONAL PROPERTY               710 Fair Labor Standards               861 HIA (1395ff)            480 Consumer Credit
        of Veteran’s Benefits            350 Motor Vehicle                 370 Other Fraud                    Act                                862 Black Lung (923)        490 Cable/Sat TV
    160 Stockholders’ Suits              355 Motor Vehicle                 371 Truth in Lending           720 Labor/Mgmt. Relations              863 DIWC/DIWW (405(g))    ✘ 850 Securities/Commodities/
    190 Other Contract                       Product Liability             380 Other Personal             740 Railway Labor Act                  864 SSID Title XVI          Exchange
    195 Contract Product Liability       360 Other Personal                    Property Damage            751 Family and Medical                 865 RSI (405(g))            890 Other Statutory Actions
    196 Franchise                            Injury                        385 Property Damage                Leave Act                                                      891 Agricultural Acts
                                         362 Personal Injury -                 Product Liability          790 Other Labor Litigation                                         893 Environmental Matters
                                             Med. Malpractice                                             791 Empl. Ret. Inc.                                                895 Freedom of Information
        REAL PROPERTY                       CIVIL RIGHTS                  PRISONER PETITIONS                  Security Act                        FEDERAL TAX SUITS          Act
     210 Land Condemnation               440 Other Civil Rights             Habeas Corpus:                                                       870 Taxes (U.S. Plaintiff   896 Arbitration
     220 Foreclosure                     441 Voting                         463 Alien Detainee                                                       or Defendant)           899 Administrative Procedure
     230 Rent Lease & Ejectment          442 Employment                     510 Motions to Vacate                                                871 IRS—Third Party 26      Act/Review or Appeal of
                                                                            Sentence                                                             USC 7609
     240 Torts to Land                   443 Housing/                          Other:                                                                                        Agency Decision
                                         Accommodations
     245 Tort Product Liability          445 Amer. w/Disabilities -         530 General                       IMMIGRATION                                                    950 Constitutionality of State
                                                                                                                                                                             Statutes
     290 All Other Real Property             Employment                     535 Death Penalty             462 Naturalization Application
                                         446 Amer. w/Disabilities -         540 Mandamus & Other          465 Other Immigration
                                             Other                          550 Civil Rights                  Actions
                                         448 Education                      555 Prison Condition
                                                                            560 Civil Detainee –
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN                   (Place an “X” in One Box Only)
                                                                                               Transferred from           6 Multidistrict
✔ 1 Proceeding
    Original               2 Removed         3 Re-filed             4 Reinstated           5                                                      7 Appeal to               8 Multidistrict
                             from State        (See VI                or                       another district           Litigation
                                                                                                                                                    District Judge            Litigation      9 Remanded   from
                                                                                                                                                                                                Appellate Court
                             Court             below)                 Reopened                 (specify)                  Transfer
                                                                                                                                                    from Magistrate           – Direct
                                                                                                                                                    Judgment                  File

VI. RELATED/                               (See instructions): a) Re-filed Case                    YES ✔ NO               b) Related Cases            YES ✔ NO
RE-FILED CASE(S)                                           JUDGE:                                                                                    DOCKET NUMBER:
                                               Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity):
VII. CAUSE OF ACTION 15USC§77q(a)(1-3); 15USC§78(j)(b); 17CFR§240.10b-5(a-c); 15USC§78t(a-c); 15USC§77t(d); 15USC§78u(d)(3).
                                            Violations of the federal securities laws.
                                           LENGTH OF TRIAL via 10-12 days estimated (for both sides to try entire case)
VIII. REQUESTED IN                                CHECK IF THIS IS A CLASS ACTION
                                                                                           DEMAND $                                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                                   UNDER F.R.C.P. 23
                                                                       3HUP,QM'LVJRUJePHQW&LYLO3HQalty, OD Bar
                                                                                                                                                     JURY DEMAND:                 ✔ Yes             No
ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE
DATE                                                                              SIGNATURE OF ATTORNEY OF RECORD
         September 30, 2022
                                                                                    s/Alice Sum
FOR OFFICE USE ONLY
RECEIPT #                              AMOUNT                       IFP                     JUDGE                                       MAG JUDGE
